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8                                       UNITED STATES DISTRICT COURT

9                                  CENTRAL DISTRICT OF CALIFORNIA

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11    JACQUELYN “JACKIE” LACEY, in her            )   Case No. CV 24-5205 FMO (MAAx)
      individual capacity and as trustee of the   )
12    D and J Lacey Family Trust dated            )
      November 23, 2016,                          )
13                                                )   ORDER ACCEPTING SPECIAL MASTER’S
                           Plaintiff,             )   REPORT AND RECOMMENDATION
14                                                )
                    v.                            )
15                                                )
      STATE FARM GENERAL INSURANCE                )
16    COMPANY,                                    )
                                                  )
17                         Defendant.             )
                                                  )
18                                                )

19           Pursuant to the Court’s Order Re: Appointment of Special Master (Dkt. 70) and Federal

20    Rule of Civil Procedure 53, the court has reviewed the Special Master’s Report and

21    Recommendation (Dkt. 78, “Report and Recommendation”), and all the briefing filed in connection

22    with defendant’s Motion for Review of Special Master’s Report and Recommendations (Dkt. 84,

23    “Motion”), the court finds that oral argument is not necessary to resolve the Motion. See Fed. R.

24    Civ. P. 78(b); Local Rule 7-15; Willis v. Pac. Mar. Ass’n, 244 F.3d 675, 684 n. 2 (9th Cir. 2001).

25    The court has engaged in a de novo review of those portions of the Report and Recommendation

26    to which objections have been made. See Fed. R. Civ. P. 53(f). The court accepts the

27    recommendations of the Special Master. Accordingly, IT IS ORDERED that:

28           1. The oral argument scheduled for April 17, 2025, is hereby vacated.
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1           2. The Report and Recommendation (Document No. 78) is accepted.

2           3. Defendant’s Motion for Review of Special Master’s Report and Recommendations

3     (Document No. 84) is denied.

4           4. Defendant’s Motion to Compel Arbitration (Document No. 17) is denied without

5     prejudice.

6     Dated this 14th day of April, 2025.

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8                                                                     /s/
                                                              Fernando M. Olguin
9                                                        United States District Judge

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